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MEMORANDUM OPINION
&nbsp;
No. 04-09-00624-CV

In the INTEREST OF I.H., a Child

From the 218th Judicial District Court, Wilson County, Texas
Trial Court No. 09-05-0260-CVW
Honorable Stella Saxon, Judge Presiding

PER CURIAM
&nbsp;
Sitting:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Catherine Stone, Chief Justice
Steven C. Hilbig, Justice
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Marialyn Barnard, Justice
&nbsp;
Delivered and Filed: November 11, 2009&nbsp;

DISMISSED FOR LACK OF JURISDICTION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellants John R. and Sherrie R. filed this cause seeking to terminate the parental rights of
Liliana P. and an unknown father, and to be appointed managing conservators of I.H. On June 3,
2009, the trial court signed an order granting Liliana P.’s motion to dismiss for lack of standing and
dismissing the cause. John R. and Sherrie R. filed a motion for new trial on July 2, 2009, and a
notice of appeal on August 31, 2009.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The appeal from a final order in a suit in which termination of the parent-child relationship
is in issue is accelerated. Tex. Fam. Code Ann. § 109.002(a) (Vernon 2008). Therefore, the notice
of appeal must be filed within twenty days after the final order is signed. Tex. R. App. P. 26.1(b);
In re K.A.F., 160 S.W.3d 923, 925 (Tex. 2005). The time for filing a notice of accelerated appeal is
not extended by the timely filing of a motion for new trial. K.A.F., 160 S.W.3d at 927. However, the
appellate court may extend the time to file the notice of appeal if, within fifteen days after the
deadline for filing the notice of appeal, the appellant files the notice of appeal and a motion for
extension of time. See Tex. R. App. P. 26.3; K.A.F., 160 S.W.3d at 926. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;John and Sherrie R.’s notice of appeal was not filed until eighty-nine days after the final order
was signed, and no motion for extension of time was filed. A timely notice of appeal is necessary
to invoke this court’s jurisdiction. See K.A.F., 160 S.W.3d at 927-28; Verburgt v. Dorner, 959
S.W.2d 615, 617 (Tex. 1997).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On October 7, 2009, we ordered appellants to show cause, not later than October 22, 2009,
why this appeal should not be dismissed for lack of jurisdiction, and advised appellants the appeal
would be dismissed if they failed to satisfactorily respond within the time provided. See Tex. R. App.
P. 42.3(a), (c). Appellants have not filed a response to our order. Accordingly, we dismiss this appeal
for lack of jurisdiction. 
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;PER CURIAM


